    Case: 1:14-cv-00068 Document #: 41 Filed: 06/27/14 Page 1 of 2 PageID #:487



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JAMES L. ORRINGTON, II, D.D.S., P.C.,               )
on behalf of plaintiff and                          )
the class members defined herein,                   )
                                                    )      14-cv-68
       Plaintiff,                                   )      Consolidated with
                                                    )      14-cv-1186
               v.                                   )
                                                    )      Honorable Judge Kennelly
CELEBRATION MEDIA, INC.,                            )
doing business as TALK OF THE                       )
TOWN AWARDS,                                        )
and JOHN DOES 1-10,                                 )
                                                    )
               Defendants.                          )


ILLINOIS NUT & CANDY HOME OF                        )
FANTASIA CONFECTIONS, LLC, an Illinois              )
limited liability company, individually and on      )
behalf of all others similarly situated,            )
                                                    )
               Plaintiff,                           )
                                                    )      14-cv-1186
               v.                                   )
                                                    )      Honorable Judge Kennelly
CELEBRATION MEDIA, INC.,                            )
doing business as TALK OF THE                       )
TOWN AWARDS,                                        )
and JOHN DOES 1-10,                                 )
                                                    )
               Defendants.                          )

                            ORDER ENTERING DEFAULT JUDGMENT

               This matter coming to be heard on prove-up on damages and fees and costs, all
parties having notice and the Court being fully advised in its premises, IT IS HEREBY ORDERED:

                 Default judgment is entered against Defendant Celebration Media, Inc., doing
business as Talk of the Town Awards, and in Plaintiffs= favor, in the amount of $1,500.00 for each
plaintiff in statutory damages, plus $6,626.00 in attorney=s fees to Edelman Combs Latturner &
Goodwin, LLC (AECLG@), 7,556.50 in attorney=s fees to Siprut, PC, $495.00 in cost of suit to ECLG
and $646.59 in costs of suit to Siprut, PC, for a total of $18,324.09.
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              Defendant Celebration Media, Inc., doing business as Talk of the Town Awards, is
enjoined from further transmitting unsolicited facsimile advertisements into the state of Illinois to
plaintiffs.

              Plaintiffs= individual claims against John Does 1-10 are dismissed with prejudice
and without costs, pursuant to Federal Rule of Civil Procedure 41.


                         _______________________________________
                                          Judge
                                    Date: June 27, 2014
